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                                 TRIAL EXHIBIT 61
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From:        Donald R Robertson III via RT (licensing@fsf.org)
To:          jmsuhy@purethink.com
CC:
BCC:
Subject:     [gnu.org #1295811] Neo4j Inc recently added restrictive license conditions to AGPL license.
Attachments:
Sent:        05/22/2018 08:38:28 AM -0700 (PST)

On Sat May 19 03:00:41 2018, jmsuhy@purethink.com wrote:
> I am not sure whom to bring this up to, but Neo4j Inc, recently added
> restrictive licensing conditions to their AGPL license. It is my
> understanding that this is not allowed.
>
> Being such a high profile company, I wanted to bring it to your
> attention and ask if these additions are allowed by AGPL, and if not -
> who would be responsible for ensuring they remain compliant?
>
> The addition of "Commons Clause" License condition was added to their
> AGPL license file. The link is below.
>
> https://github.com/neo4j/neo4j/blob/3.4/enterprise/server-
> enterprise/LICENSE.txt
>
> "Commons Clause" License Condition
> The Software is provided to you by the Licensor under the License, as
> defined below, subject to the following condition. Without limiting
> other conditions in the License, the grant of rights under the License
> will not include, and the License does not grant to you, the right to
> Sell the Software. For purposes of the foregoing, "Sell" means
> practicing any or all of the rights granted to you under the License
> to provide to third parties, for a fee or other consideration,
> a product or service that consists, entirely or substantially,
> of the Software or the functionality of the Software. Any license
> notice or attribution required by the License must also include
> this Commons Cause License Condition notice.
>
>
>
>
> John Mark Suhy
> PureThink                                                                                                     Plaintiffs'
> jmsuhy@purethink.com                                                                                         Trial Exhibit
> 703-862-7780
> http://purethink.com                                                                                              61
Thank you for your time. Both the GPL and AGPL prevent the addition of further restrictions:

"All other non-permissive additional terms are considered "further                                                 Witness:
restrictions" within the meaning of section 10. If the Program as you                                           John Mark Suhy
received it, or any part of it, contains a notice stating that it is                                          Exhibit 22
governed by this License along with a term that is a further restriction,                                        10/22/2020 B Gerald
you may remove that term."

If the distribution includes code that is copyright to someone else, then you can follow the instructions at for filing a violation
report with the copyright holder. Only the copyright holder has the power to enforce the terms of the license.



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Thanks for checking in on this, and I hope this helps.
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Sincerely,

Donald R. Robertson, III, J.D.
Licensing & Compliance Manager
Free Software Foundation
51 Franklin Street, Fifth Floor
Boston, MA 02110, USA
Phone +1-617-542-5942
Fax +1-617-542-2652 ex. 56

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